Case 2:20-cv-07711-DSF-E Document 24 Filed 09/24/21 Page 1 of 1 Page ID #:79




                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA

 LUIS VILLEGAS                       CASE NO.
                                     2:20−cv−07711−DSF−E
             Plaintiff(s),
       v.                             Order to Show Cause re
 KYONG SUN KIM, et al.                Dismissal for Lack of
                                      Prosecution
            Defendant(s).




      Default has been entered by the Clerk as to the remaining defendants. No
   motion for default judgment has been filed. Plaintiff is ordered to file a
   motion for default judgment on or before October 25, 2021. Failure to file a
   default judgment motion by that date may result in sanctions, including
   dismissal for failure to prosecute.

      IT IS SO ORDERED.

 Date: September 24, 2021                 /s/ Dale S. Fischer
                                         Dale S. Fischer
                                         United States District Judge
